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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS


  DAVID SAMBRANO, individually and on
  behalf of all others similarly situated, et al.,

                           Plaintiffs,

                   v.                                Civil Action No.: 4:21-01074-P

  UNITED AIRLINES, INC.,

                           Defendant.


                        JOINT LIST OF EXHIBITS ADMITTED DURING
                         THE PRELIMINARY INJUNCTION HEARING

       Listed below are all exhibits Plaintiffs admitted during the Preliminary Injunction
hearing held on October 13-14, 2021:

     EXHIBIT NO.                                      DESCRIPTION

              1              Affidavit of David Eric Sambrano (ECF No. 7 at 1–5)

              2              Affidavit of Kimberly Anne Hamilton (ECF No. 7 at 6–11)

              3              Affidavit of Seth Adam Turnbough (ECF No. 7 at 12–16)

              4              Affidavit of David Michael Castillo (ECF No. 7 at 17–21)

              5              Affidavit of Debra Jennefer Thal Jonas (ECF No. 7 at 22–26)

              6              Affidavit of Genise Gale Kincannon (ECF No. 7 at 27–31)

              7              Affidavit of David Llen Lockwood (ECF No. 7 at 32–35)

              8              Copy of text K. Hamilton submitted in support of RAP

              9              Coronavirus Q&A Updated September 7, 2021 from Flying
                             Together

              10             September 19, 2021 email from Jodi Stringfellow to all DFW
                             employees


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     EXHIBIT NO.                                   DESCRIPTION

             11            August 4, 2021 letter from Dr. George Katsamakis

             12            May 20, 2021 page from Dr. George Katsamakis’ progress notes
                           on exam of S. Turnbough

             13            September 21, 2021 email from United to S. Turnbough

             14            United HelpHub internet document “COVID-19 Vaccination:
                           Medical Accommodations” as of September 29, 2021

             15            August 25, 2021 letter from D. Sambrano to United HR in
                           support of RAP

             16            September 14, 2021 COVID-19 Vaccine Medical Exemption
                           form submitted to United by D.J. Jonas

             17            August 18, 2021 Screenshot of G. Kincannon’s explanation of
                           need for RAP

             18           Declaration of Dr. Jayanta Bhattacharya

             19           Curriculum Vitae of Dr. Jayanta Bhattacharya

             20           Declaration of Fred Bates

             21           Curriculum Vitae of Fred Bates

             22           Hiam Chemaitelly et al., Waning of BNT162b2 vaccine protection
                          against SARS-CoV-2 infection in Qatar, MEDRXIV, Aug. 27, 2021
                          (preprint), doi:10.1101/2021.08.25.21262584. (FN17)

             23           Zachary J. Madewell et al., Household Transmission of SARS-CoV-
                          2: A Systematic Review and Meta-analysis, 3 JAMA NETW. OPEN
                          e2031756 (2020). (FN35)

             24           Sivan Gazit et al., Comparing SARS-CoV-2 natural immunity to
                          vaccine-induced immunity: reinfections versus breakthrough
                          infections,        MEDRXIV,         Aug.       25,    2021,
                          https://doi.org/10.1101/2021.08.24.21262415. (FN46)

             25           Richard K. Zimmerman, Helping patients with ethical concerns
                          about COVID-19 vaccines in light of fetal cell lines used in some
                          COVID-19 vaccines, 39 VACCINE 4242–4244 (2021). (FN58)



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     EXHIBIT NO.                                   DESCRIPTION

             26           Supplemental Affidavit of Deba Jennefer Thal Jonas (ECF No. 38
                          at 1-4)

             27           September 9, 2021 Email from HelpHub to David Sambrano

             28           United Airlines’ employee website as of October 5, 2021, labeled
                          Covid-19 Vaccination: Religious Accommodation

             29           Video Clip of Scott Kirby during United Town Hall

             30           Kincannon – Email Link to United “COVID-19 Vaccination:
                          Religious Accommodations” from United Website

             31           Supplemental Declaration of Debra Jennefer Thal Jonas, attaching
                          documents submitted during RAP

             32           United: What to Expect When You Fly

       Listed below are all exhibits Defendant admitted during the Preliminary Injunction hearing
held on October 13-14, 2021:

     EXHIBIT NO.                                   DESCRIPTION

             1             United’s COVID-19 Vaccination Policy dated Aug. 5, 2021

             2             United’s COVID-19 Vaccination Policy dated Aug. 23, 2021

             3             Face Covering / Mask Policy dated Aug. 18, 2021

             4             Demonstrative Chart of Accommodation Requests
                           Spreadsheet of United Employees Who Received Remote Work
             5
                           as Accommodation as of Oct. 1, 2021
             6             Chart of United Costs Related to COVID-19 Insurance Claims
                           Email Sent to Employees Requesting a Reasonable
             7
                           Accommodation dated Sept. 9, 2021
             8             Explanation of Medical Accommodations, Available on Help Hub
                           Explanation of Religious Accommodations, Available on Help
             9
                           Hub
                           Pilot Bulletin No. 21-273 Regarding “Face Mask Requirements
             10
                           and Eye Protection Guidance” Effective Sept. 30 – Dec. 31, 2021
             11            SRA Regarding Usage of Facemasks
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     EXHIBIT NO.                                   DESCRIPTION

             12            Employee Vaccine Postcard dated Aug. 30, 2021

             13            OSHA Complaint No. 1818391

             14            Expert Report of Dr. Carlos Del Rio dated Oct. 5, 2021

             15            CV of Professor Shane Crotty dated Oct. 2, 2021

             16            Declaration of Shane Crotty1

             17            Declaration of Kirk Limacher

             18            Supplemental Declaration of Kirk Limacher

             19            David Sambrano Flight Schedules, Jan. 1, 2018-present

             20            Genise Kincannon Flight Schedules, Jan. 1, 2018-present

             21            Seth Turnbough Flight Schedules, Jan 1, 2016-present

             22            Seth Turnbough Sept. 2021 Pay Register

             23            David Lockwood Vaccination Card dated Sept. 2, 2021

             24            Letter to Employees on Leaves of Absence

             25            Letter to Employees on Leaves of Absence FA&Pilot
                           Reasonable Accommodations Notifications Language as of Sept.
             26
                           26, 2021
             27            Reasonable Accommodations Vaccine Notifications
                           Basics of COVID-19, Centers for Disease Control and Prevention
             28
                           (May 24, 2021), https://www.cdc.gov/coronavirus/2019-
                           ncov/your-health/about-covid-19/basics-covid-19.html
                           Delta Variant: What We Know About the Science, Centers for
             29
                           DiseaseControl and Prevention (Aug. 26, 2021),
                           https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-
                           variant.html
                           Reduced Risk of Reinfection with SARS-CoV-2 After COVID-19
             30
                           Vaccination— Kentucky, May–June 2021, Centers for Disease
                           Control and Prevention(Aug. 13, 2021), at
                           https://www.cdc.gov/mmwr/volumes/70/wr/mm7032e1.htm
                           SARS-CoV-2 Infections and Hospitalizations Among Persons
             31
                           Aged ≥16Years, by Vaccination Status — Los Angeles County,
                           California, May 1–July25, 2021, Centers for Disease Control and
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     EXHIBIT NO.                                   DESCRIPTION
                           Prevention (Aug. 27, 2021), at
                           https://www.cdc.gov/mmwr/volumes/70/wr/mm7034e5.htm
             32            Transcript of March 27, 2020 Outreach Webinar, U.S. Equal
                           EmploymentOpportunity Commission (Mar. 27, 2020), at
                           https://www.eeoc.gov/transcript-march-27-2020-outreach-
                           webinar#q1


October 18, 2021

                                                    Respectfully submitted,

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                                                    Airlines, Inc.


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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing has been served via the Court’s electronic filing

system upon all counsel of record.

                                                    /s/ Robert C. Wiegand
                                                    Robert C. Wiegand




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